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                                               UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF PENNSYLVANIA

METROPCS, a brand of T-MOBILE USA, Inc., a                       )
Delaware Corporation,                                            )
                                                                 )
          Plaintiff,                                             )
                                                                 )    Civil Action No: 2:17-cv-04557-MMB
v.                                                               )
                                                                 )
ISAIAH MICHAEL THOMAS, et al,                                    )
      Defendants.                                                )

                   PLAINTIFF’S SUBPOENA DUCES TECUM TO PRODUCE DOCUMENTS
                        AND TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

          To:       Lorraine R. Frazin
                    6930 Elmridge Drive
                    Dallas, Texas 75240
 Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to be
taken in this civil action.

     Place:                                                                    Date and Time:
     GRAY REED & McGRAW, P.C. c/o April R. Terry
     1601 Elm Street, Suite 4600                                                                April 19, 2018 at 9:00 a.m.
     Dallas, Texas 75201
     QUESTIONS:
     Amanda Jesteadt, Carlton Fields (561) 650-0354
          The deposition will be recorded by this method: oral examination to be transcribed by a court reporter.

 Documents: YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place, date, and time specified below (list documents or objects):

                                  SEE “EXHIBIT A” FOR DOCUMENTS THAT MUST BE PRODUCED
     Place:                                                                    Date:
     GRAY REED & McGRAW, P.C. c/o April R. Terry
     1601 Elm Street, Suite 4600                                                                April 19, 2018 at 9:00 a.m.
     Dallas, Texas 75201
     QUESTIONS:
     Amanda Jesteadt, Carlton Fields (561) 650-0354

          The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your
protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond to this subpoena and the potential consequences of
not doing so.

Date: March 30, 2018

 CLERK OF COURT                                                                 OR



 Signature of Clerk or Deputy Clerk                                             Attorney Signature

The name, address, e-mail, and telephone number of the attorney representing Plaintiff who issues or requests this subpoena: Jennifer . Yasko, Email:
jyasko@carltonfields.com, CARLTON FIELDS JORDEN BURT, P.A., 525 Okeechobee Blvd., Suite 1200, West Palm Beach, FL 33401; Tel: 561-659-7070.

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Eastern District of Pennsylvania



                                                        PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)


        This subpoena for (name of individual and title, if any)                                                                        .
was received by me on (date)                         .


          I served the subpoena by delivering a copy to the named individual as follows:


                                                        on (date)                                         ; or

          I returned the subpoena unexecuted because:




         Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
         witness fees for one day’s attendance, and the mileage allowed by law, in the amount of


My fees are $                        for travel and $                        for services, for a total of $                     .


         I declare under penalty of perjury that this information is true.

Date:
                                                                                     Server’s Signature


                                                                                     Printed name and title



                                                                                     Server’s address


Additional information regarding attempted service, etc.




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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3)

                                 Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.
(1) For a Trial, Hearing, or Deposition. A subpoena may command a                             (ii) disclosing an unretained expert’s opinion or information that
person to attend a trial, hearing, or deposition only as follows:                       does not describe specific occurrences in dispute and results from the
   (A) within 100 miles of where the person resides, is employed, or                    expert’s study that was not requested by a party.
   regularly transacts business in person; or                                              (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly             described in Rule 45(d)(3)(B), the court may, instead of quashing or
   transacts business in person, if the person                                          modifying a subpoena, order appearance or production under specified
        (i) is a party or a party’s officer; or                                         conditions if the serving party:
        (ii) is commanded to attend a trial and would not incur substantial                   (i) shows a substantial need for the testimony or material that cannot
        expense.                                                                        be otherwise met without undue hardship; and
(2) For Other Discovery. A subpoena may command:                                              (ii) ensures that the subpoenaed person will be reasonably
   (A) production of documents, electronically stored information, or                   compensated.
tangible things at a place within 100 miles of where the person resides, is             (e) Duties in Responding to a Subpoena.
employed, or regularly transacts business in person; and                                (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                          procedures apply to producing documents or electronically stored
(d) Protecting a Person Subject to a Subpoena; Enforcement.                             information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                    documents must produce them as they are kept in the ordinary course of
responsible for issuing and serving a subpoena must take reasonable steps               business or must organize and label them to correspond to the categories
to avoid imposing undue burden or expense on a person subject to the                    in the demand.
subpoena. The court for the district where compliance is required must                     (B) Form for Producing Electronically Stored Information Not
enforce this duty and impose an appropriate sanction—which may                          Specified. If a subpoena does not specify a form for producing
include lost earnings and reasonable attorney’s fees—on a party or                      electronically stored information, the person responding must produce it
attorney who fails to comply.                                                           in a form or forms in which it is ordinarily maintained or in a reasonably
(2) Command to Produce Materials or Permit Inspection.                                  usable form or forms.
   (A) Appearance Not Required. A person commanded to produce                              (C) Electronically Stored Information Produced in Only One Form.
documents, electronically stored information, or tangible things, or to                 The person responding need not produce the same electronically stored
permit the inspection of premises, need not appear in person at the place               information in more than one form.
of production or inspection unless also commanded to appear for a                          (D) Inaccessible Electronically Stored Information. The person
deposition, hearing, or trial.                                                          responding need not provide discovery of electronically stored
   (B) Objections. A person commanded to produce documents or                           information from sources that the person identifies as not reasonably
tangible things or to permit inspection may serve on the party or attorney              accessible because of undue burden or cost. On motion to compel
designated in the subpoena a written objection to inspecting, copying,                  discovery or for a protective order, the person responding must show that
testing, or sampling any or all of the materials or to inspecting the                   the information is not reasonably accessible because of undue burden or
premises—or to producing electronically stored information in the form                  cost. If that showing is made, the court may nonetheless order discovery
or forms requested.                                                                     from such sources if the requesting party shows good cause, considering
The objection must be served before the earlier of the time specified for               the limitations of Rule 26(b)(2)(C). The court may specify conditions for
compliance or 14 days after the subpoena is served. If an objection is                  the discovery.
made, the following rules apply:                                                        (2) Claiming Privilege or Protection.
      (i) At any time, on notice to the commanded person, the serving                      (A) Information Withheld. A person withholding subpoenaed
party may move the court for the district where compliance is required                  information under a claim that it is privileged or subject to protection as
for an order compelling production or inspection.                                       trial-preparation material must:
      (ii) These acts may be required only as directed in the order, and the                  (i) expressly make the claim; and
order must protect a person who is neither a party nor a party’s officer                      (ii) describe the nature of the withheld documents, communications,
from significant expense resulting from compliance.                                     or tangible things in a manner that, without revealing information itself
(3) Quashing or Modifying a Subpoena.                                                   privileged or protected, will enable the parties to assess the claim.
   (A) When Required. On timely motion, the court for the district where                   (B) Information Produced. If information produced in response to a
compliance is required must quash or modify a subpoena that:                            subpoena is subject to a claim of privilege or of protection as trial-
      (i) fails to allow a reasonable time to comply;                                   preparation material, the person making the claim may notify any party
      (ii) requires a person to comply beyond the geographical limits                   that received the information of the claim and the basis for it. After being
      specified in Rule 45(c);                                                          notified, a party must promptly return, sequester, or destroy the specified
      (iii) requires disclosure of privileged or other protected matter, if no          information and any copies it has; must not use or disclose the
exception or waiver applies; or                                                         information until the claim is resolved; must take reasonable steps to
      (iv) subjects a person to undue burden.                                           retrieve the information if the party disclosed it before being notified; and
   (B) When Permitted. To protect a person subject to or affected by a                  may promptly present the information under seal to the court for the
subpoena, the court for the district where compliance is required may, on               district where compliance is required for a determination of the claim.
motion, quash or modify the subpoena if it requires:                                    The person who produced the information must preserve the information
      (i) disclosing a trade secret or other confidential research,                     until the claim is resolved.
development, or commercial information; or                                              (g) Contempt.
                                                                                        The court for the district where compliance is required—and also, after a
                                                                                        motion is transferred, the issuing court—may hold in contempt a person
                                                                                        who, having been served, fails without adequate excuse to obey the
                                                                                        subpoena or an order related to it.


                                                     For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).


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                                          EXHIBIT A

                            DEFINITIONS AND INSTRUCTIONS

       Except as defined below, all words used in these requests for production shall be construed
according to their ordinary accepted meanings, unless some other meaning is clear from the context.

       1.       “You” and “Your” shall mean and include Lorraine R. Frazin and each of her
employees, accountants, agents, attorneys, representatives, investigators, consultants, partners or
other persons or entities acting or purporting to act for her or on her behalf, and any corporation,
partnership, proprietorship, doing business as name, trade name, or entity of any type in which
she has an interest or that she is in any way affiliated or associated with, and any parent,
subsidiary, affiliate, licensee, franchisee, sister corporation or predecessor of same.

         2.     “Defendants” shall mean and include Isaiah Michael Thomas, individually and
d/b/a Go Phonez, Zamir Jefferson, Christopher Alexander T. Johnson, Brion R. Benson, Rolan
Stephens, Keosha Lawson, and Nina Stewart and each and all of Defendants’ past and present
companies, agents, employees, heirs, personal representatives, beneficiaries, and all other
persons or entities acting or purporting to act for Defendants or on Defendants’ behalf, including,
but not limited to, any corporation, partnership, association, proprietorship or entity of any type
that is in any way affiliated or associated with Defendants or one of Defendant’s representatives,
agents, assigns, employees, servants, affiliated entities, and any and all persons and entities in
active concert and participation with Defendants.

        3.     “Document” or “documentation” shall mean each and every written, recorded, or
graphic matter of any kind, type, nature, or description that is in your possession, custody, or
control or of which you have knowledge, including but not limited to correspondence,
memoranda, tapes, or handwritten notes, written forms of any kind, charts, drawings, sketches,
graphs, plans, articles, specifications, diaries, letters, photographs, minutes, contracts,
agreements, reports, surveys, computer printouts, data compilations of any kind, facsimiles,
email messages, text messages, spreadsheets, invoices, order forms, checks, drafts, statements,
credit memos, reports, summaries, books, ledgers, notebooks, schedules, recordings, catalogs,
advertisements, promotional materials, films, video tapes, audio tapes, brochures, or pamphlets,
or any written or recorded materials of any other kind, however stored, recorded, produced, or
reproduced, and also including, but not limited to, drafts or copies of any of the foregoing that
contain any notes, comments, or markings of any kind not found on the original documents or
are otherwise not identical to the original documents, as well as any affidavits, statements,
summaries, opinions, reports, studies, analyses, computer print-outs, data processing input/output,
website screen shots, databases, electronic code, e-mails and all other records kept by electronic
means, photographic or mechanical means, and other things similar to any of the foregoing.

       4.      To “identify” a document means to provide the following information irrespective
of whether the document is deemed privileged or subject to any claim of privilege:
               a.     the title or other means of identification of the document;
               b.     the date of the document;
               c.     the author of the document;


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               d.     the recipient or recipients of the document;
               e.     the subject matter of the document;
               f.     the present location of any and all copies of the document; and
               g.     the names and current addresses of any and all persons who have
possession, custody or control of the document or copies thereof.

       5.      “Person” means natural persons, individuals, firms, corporations, partnerships,
proprietorships, joint ventures, unincorporated associations, government agencies, and all other
organizations or entities of any type.

      6.     To “identify” a person means to state the person’s full name, present or last
known address and telephone number, and present or last known business affiliation and title.

        7.      The phrase “contact or communication” includes all instances in which
information has been transmitted from one person or entity to another, including, but not limited
to, telephone conversations, meetings, conferences, correspondence, other mailings, facsimiles,
email, or other data transmissions of any type or nature, whether oral, electronic, or written.

     8.      To “identify” a contact or communication means to state the date of the contact or
communication, the person or persons involved in, participating in, or present at the contact or
communication, and the nature or type of the contact or communication.

       9.      The term “entity” means corporations, companies, businesses, partnerships,
proprietorships, or fictitious or trade names.

       10.     The singular and masculine form of any word shall embrace, and shall be read
and applied as embracing, the plural, the feminine, and the neuter.

        11.   The use of a verb in any tense shall be construed as the use of the verb in all other
tenses, wherever necessary to bring within the scope of the request for production all responses
which might otherwise be construed to be outside the scope.

       12.     The term “each” includes the word “every” and “every” includes the word “each.”
The term “any” includes the word “all” and “all” includes the word “any.” The terms “and” as
well as “or” shall be construed either disjunctively or conjunctively so as to bring within the
scope of the request for production responses which might otherwise be construed to be outside
the scope.

        13.      “Customers” includes, but is not limited to, all individuals, companies, entities,
resellers or third parties to whom you (or any other entity that you are affiliated with) have sold
Products and/or information.

         14.    “Product(s)” means any product, good, or service manufactured, distributed, sold,
or offered for sale by T-Mobile USA, Inc. under any of its brands, including MetroPCS, as well
as any instance where there is no express identification that the product, good or service is
affiliated with another wireless carrier (e.g., Sprint, AT&T or Verizon), including but not limited


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to Handsets and Activation Materials, and expressly including any and all confidential activation
codes.

        15.     “Handset(s)” means any phone or handset manufactured, distributed, sold, or
offered for sale by T-Mobile USA, Inc. under any of its brands, including MetroPCS, as well as
any instance where there is no express identification that the product, good or service is affiliated
with another wireless carrier (e.g., Sprint, AT&T or Verizon), either in their original condition or
after having been reprogrammed or otherwise altered or tampered with.

       16.    “Activation Materials” shall mean any SIM Cards, PIN numbers, codes, and/or
other mechanism, process, instructions or materials used to activate service or acquire airtime in
connection with a new activation.

       17.     “Alter,” “alteration,” or “altering” means to modify, unlock, reprogram or change
in any way, or to attempt to modify, unlock, reprogram or change in any way, any Handset.

        18.    The term “relating to” shall be construed as to include indicating, referring to,
mentioning, reflecting, pertaining to, evidencing, involving, describing, discussing, supporting,
or contradicting.
                                         TIME FRAME

      Unless otherwise indicated, these requests for production cover the time period from
October 12, 2012 up to and including the date of your response hereto.

                              DOCUMENTS TO BE PRODUCED

         1.    All documents relating to the Defendants.

       2.      All documents reflecting, referencing or related to transactions between you and
Defendants including, but not limited to, purchase orders, receipts, sales orders, invoices,
shipping records, statements, and communications.

       3.     All documents reflecting, referencing or related to your acquisition and/or sale of
any Products.

        4.      All purchase orders, receipts, sales orders, invoices, statements, shipping records,
communications, and other documents evidencing or relating to your purchase, advertisement,
and/or sale of Products.

       5.     All purchase orders, receipts, sales orders, invoices, statements, communications,
and other documents evidencing or relating to your purchase and/or sale of Products from or to
the Defendants.

     6.      All documents constituting, referencing or related to any emails and/or
communications between you and any of the Defendants.



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        7.     All documents, including but not limited to, communications and e-mail
correspondence, relating to, showing, discussing or evidencing the alteration of any Products
(e.g., unlocking, unpackaging, flashing, repackaging).

        8.      All of your general ledgers, check registers, accounts, books of account, financial
statements, canceled checks, electronic or credit card charge receipts and similar
accounting/bookkeeping records that reference or reflect, either expressly or otherwise, finances
or transactions relating to any of the Defendants.

       9.       All documents that you received, requested, accessed, or to which you were
provided access reflecting Defendants’ solicitation, advertising, purchasing, and selling of any
Products (e.g., emails, ads, email blasts, webpages).

       10.     All documents relating to any investigation conducted by a state or federal law
enforcement agency, customs agency, or other state or federal investigative agency or
department, relating to you purchasing, selling, altering, shipping, or advertising any Handset.

       11.     All documents and correspondence related to your involvement in any lawsuit
involving the purchasing, selling, altering, shipping, or advertising any Products or services.




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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION

LORRAINE FRAZIN,                   §
            Petitioner,            §          MISCELLANEOUS ACTION
v.                                 §
                                   §          No. ______________________
T-MOBILE USA, Inc.,                §
                  Respondent.      §
                                   §
 ▬▬▬▬▬▬▬▬▬▬▬▬▬▬▬                   §
                                   §
METROPCS, a brand of T-MOBILE      §
USA, Inc., a Delaware Corporation, §
                  Plaintiff,       §           E.D. PENNSYLVANIA
v.                                 §
                                   §           Civil Action No. 2:17-cv-04557
ISAIAH MICHAEL THOMAS, et al., §
                  Defendants.      §


                   DECLARATION OF GARY SCHEPPS


My Name is Gary Schepps. I am over 18 years of age and am competent to make
this declaration and to testify to the matters stated herein. I have personal knowledge
of the matters set forth herein, which I acquired in the course of my work as Counsel
for Lorraine Frazin, Petitioner in the above entitled and numbered cause.

   1. The attached Exhibit “B” is a true and correct copy of the Rule 26(a)
      Disclosures of T-Mobile USA, Inc., in the Pennsylvania suit, which was
      delivered to me.
   2. The attached Exhibit “C” is a true and correct copy of the Docket Sheet in the
      Pennsylvania suit, printed from PACER.
   3. I conferred both in writing and by telephone with counsel for T-Mobile in the
      Pennsylvania suit and inquired as to the relevance of information known to
      Mrs. Frazin to the claims in the Pennsylvania suit. Counsel for T-Mobile
      responded that Mrs. Frazin engaged in a scheme using “identical activities” to
      those described in the Pennsylvania suit. Counsel for T-Mobile accused Mrs.
      Frazin of being involved in a “scheme” to obtain new phones from T-Mobile
      with the intent to resell the phones “online and elsewhere”.


DECLARATION OF GARY SCHEPPS                                             Page 1 of 2

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   4. T-Mobile’s counsel suggest a “need to take further legal action” against Mrs.
      Frazin, and demanded an agreement that she “immediately and permanently
      cease” “activities targeting any and all T-Mobile products” for purchase, and
      that she enter into “a negotiated settlement amount for damages”.

   5. Counsel for T-Mobile represented to me that Tom Vanderbosch testified in his
      deposition that Mrs. Frazin directed Tom to purchase phones from T-Mobile
      and that the phones are stored in her home in Dallas. Upon investigation, it
      was discovered that T-Mobile’s representations as to what Mr. Vanderbosch
      stated are false. Neither allegation was made by Mr. Vanderbosch.

   6. Counsel for T-Mobile represented to me in writing that it intends to proceed
      with a deposition of Mrs. Frazin on May 19th, and represented that such date
      was noticed upon Mrs. Frazin in a subpoena duces tecum served upon her. T-
      Mobile’s representations notably conflict with the text of the subpoena ‘drop’
      served on Mrs. Frazin.

   7. The work necessitated in investigating and preparing this motion were
      substantially increased because T-Mobile’s counsel made a series of
      representations that, unfortunately, were false and misleading. Because counsel
      for T-Mobile did not make disclosures to me in candor, I was required to
      investigate the underlying claims in the Pennsylvania suit, the status of the suit,
      T-Mobile’s discovery responses and disclosures in the Pennsylvania suit, the
      contents of the Vanderbosch deposition, the underlying law as to T-Mobile’s
      (wholly false) claims that the law prohibits purchase, unlocking, and resale of
      cell phones, and inquiry into T-Mobile’s prior suits in light of T-Mobile’s (false
      and misleading) representations to me that courts around the country had ruled
      in favor of T-Mobile’s claims. I was required to expend over 24 hours of
      attorney’s time in preparation of this motion, to date. My hourly rate for
      federal work is $795.00/per hour, a rate recognized as a reasonable rate for
      work in this district. My fee to date for this motion is $19.080.00, which fee is
      reasonable and was necessary in light of T-Mobile’s counsels’ misleading
      representations to me and refusal to withdraw their deposition notice.

   I declare under penalty of perjury that the foregoing is true and correct.
   Declared on this the 18th Day of April, 2018 at Dallas, Texas.




                                               Gary Schepps


DECLARATION OF GARY SCHEPPS                                               Page 2 of 2

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                                  UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLV ANIA


МETROPCS, а brand of Т-MOBILE USA,                      )
 Inс., а Delaware Corporation,                          )
                                                        )
          Plaintiff,                                    )
                                                        )    Civil Action No: 2: 1 7-су-О4557-ММВ
у.                                                      )
                                                        )
 ISAIAН МICНAEL THOМAS, individually                    )
 anд d/b/a GO PHONEZ, ZAМIR                             )
 JEFFERSON, CНRISTOPНER                                 )
 ALEXANDER Т. JOНNSON, BRION R.                         )
 BENSON, ROLAN STEPНENS, КEOSНA                         )
 LAWSON, апд NINA STEWART,                              )
                )
Defendants.
----        --- )

                              PLAINTIFF'S INITIAL DISCLOSURES


          Plaintiff    T-Mobile    USA,   Inс.,   for   itself   апд   its   MetroPCS   brand   (collectively


 "MetroPCS" or "Plaintiff'), hereby serves its initial discovery disclosures pursuant to Fed. R.


 Civ.   Р. 26(a)(l).

          MetroPCS makes these disclosures based оп information reasonably avai1able to


 MetroPCS as of this date, although its investigation into the facts of this case is continuing. Ву


 making these disclosures, MetroPCS does not represent that it is identifying every document,


 tangible thing or witness possibly relevant to this lawsuit; nor does MetroPCS waive its right to


 raise valid objections to the production of апу person, document or tangible thing disclosed.


 Rather, MetroPCS's disclosures represent а good faith effort to identify information reasonably


 believed to Ье discoverable and relevant to the factual disputes alleged with particularity in the


 pleadings, as required Ьу Fed. R. Civ.       Р. 26(a)( l). АН of the disclosures set forth below are

 mаде subject to the аЬоуе qualifications.




                                                                                                        APPENDIX Page 13
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        (1)     ТЬе пате and, if known, the address and telephone                 number of еасЬ


 individual likely to Ьауе discoverable information, along with the subjects of that


information that Plaintiff тау use to support its claims or defenses, unless the use would Ье
                              ,

 solely for impeachment.


        See Attachment А.


        (2)     А   сору   or а description     Ьу category and location of all documents,


 electronically stored information, and tangible things that Plaintiff has in its possession,


 custody, or control and тау use to support their claims or defenses, unless the use would


 Ье solely for impeachment.


        See Attachment В.


        (3)     А computation of еасЬ category of damages claimed Ьу Plaintiffs, which


 must also make ауаilаЫе for inspection and copying as under Rule            34   the documents or


 other evidentiary material, unless privileged or protected from disclosure, оп which еасЬ


 computation is based, including materials bearing оп the nature and extent of injuries


 suffered.


        MetroPCS    IS   seeking а permanent injunction as well as an award of compensatory,


 consequential, statutory, punitive, and special damages against Defendants.      Plainti:ff's financial


 10sses due to Defendants' activities include, but are not limited to: 10st subsidies and other


 investment costs, 10st profits, 10ss of goodwill and damage to MetroPCS's reputation, costs


 incurred in responding to and resolving the effects of Defendants' activities, the cost of сопесtivе


 advertising, Lanham Act damages, and exemplary damages in an amount to Ье determined Ьу the


 trier of fact. In addition, MetroPCS has claimed Ьу way of monetary recovery, Defendants' gross


 profits and unjust enrichment.




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                                                                                                   APPENDIX Page 14
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       То determine the precise damages caused Ьу Defendants' conduct, additional discovery is


necessary.   Moreover, documents regarding the extent of MetroPCS's losses and Defendants'


profits are in Defendants' possession and the possession of third-parties.


       MetroPCS reserves the right to supplement this response, as necessary, when the


information becomes available to MetroPCS.


       (4)     Апу insurance agreement under which ап insurance business тау Ье liable


to satisfy аН or part of а possible judgment in the action or to indemnify or reimburse for


payments made to satisfy the judgment.



       None.


       Dated: March 14, 20 18.


                                 ,
                                              Ву:        (J'- � -) /1
                                              Adam Р. Schwartz
                                              РА Bar. No. -1 6169
                                              Email: aschwartz@carltonfields.com
                                              CARLTON FШLDS JORDEN BURT, Р.А.
                                              422 1 West Воу Scout Вlvd., Suite 1000
                                              Татра, Florida 33607
                                              Phone: (8 13) 223-7000
                                              Fax: (8 13) 229-4 133


                                              James В. Baldinger    (Admitted pro hac vice)
                                                                                         .
                                              Florida Bar No. 869899
                                              Email: jbaldinger@carltonfields.com
                                              Stacey К. Sutton   (Admitted pro hac vice)
                                              Florida Bar No. 289530
                                              Email: ssutton@carltonfields. com
                                              Amanda R. Jesteadt      (Admitted pro hac vice)
                                              Florida Bar No. 73 149
                                              Email: ajesteadt@car1tonfields.com
                                              Jennifer   А. Yasko (Admitted pro hac vice)
                                              Florida Bar No. 109604
                                              Email: jyasko@carltonfields.com
                                              CARLTON FШLDS JORDEN BURT, Р.А.
                                              525 Okeechobee Boulevard, Suite 1200
                                              West Palm Beach, Florida 3340 1
                                              Phone: (56 1) 659- 7070


                                                 3




                                                                                                APPENDIX Page 15
Case 3:18-mc-00029-K-BN Document 2 Filed 04/18/18         Page 16 of 35 PageID 27




                                Fax: (561) 659-7368
                                Attorneys for PlaintifJ


                       •




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                                                                           APPENDIX Page 16
Case 3:18-mc-00029-K-BN Document 2 Filed 04/18/18                      Page 17 of 35 PageID 28




                                      CERTIFICATE OF SERVICE

        Тhis is to certify that а сору of this document was served оп the folIowing parties Ьу


 email (where indicated) and Ьу depositing а сору in the United States Mail, postage prepaid,


 addressed as follows:



        Nina Stewart
        6 12 N. Donar Street
        Columbia, SC 26229
        ninaO 1306 1@gmail.coIV
        Defendant

        Christopher Alexander Т. Johnson
        323 West Zeralda Street
        Philadelphia,    Р А 19 144
        Defendant

        Zamir Jefferson
        3908 Melon Street
        Philadelphia,    Р А 19 104
        Defendant

        Dated: March 14, 20 18
                                                     (        (J) /1
                                                         ."--"'
                                              Jemtifer A. �asko
                                              CounseUor Plaintiff




                                                 5




                                                                                          APPENDIX Page 17
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                                       ATTACHМENT А

        MetroPCS complies with its obligation under Rule 26(a)(I)(A)(i) Ьу identifying below


 the пате and, if knоwn, the address and telephone number of еасЬ individual likely to have


 discoverable information along with the subjects of that information that MetroPCS mау use to


 supports its claims,   exclusive of those individuals     that MetroPCS mау саН solely for


 impeachment.


        As discovery is stiH in the initial stages, additional witnesses mау Ье identified as this


 case progresses. If апу such witnesses are so identified, MetroPCS will disclose their identity, as


 necessary.   Тhe individuals presently knоwn to MetroPCS who Ьауе knowledge regarding


 MetroPCS's claims against Defendants are as foHows:


        1.      MetroPCS Corporate Representative - has information regarding MetroPCS' s


 trademark rights, losses suffered Ьу MetroPCS as а result of Defendants' actions, the impact of


 Defendants' actions оп MetroPCS's business reputation and the expenses inсuпеd Ьу MetroPCS


 in addressing Defendants' actions, information regarding the impact of Defendants' actions оп


 MetroPCS's relationships with its vendors, dealers and customers, knowledge regarding the


 purpose of locking MetroPCS's handsets, general knowledge regarding MetroPCS's claims and
                     ,

 damages, and other information relevant to this litigation.    Plaintiff should оn1у Ье contacted


 through counsel.


        2.      John Neil, MetroPCS Vice President for Field Operations & Financial Control -


 has information regarding MetroPCS's investigation into the fraudulent activities of Defendants,


 the unlawful acquisition and resale of MetroPCS handsets, and other information relevant to this


 matter. Мr. Neil should оn1у Ье contacted through MetroPCS's counsel.




                                                  6




                                                                                               APPENDIX Page 18
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       3.     Isaiah Мicbael Thomas, individually and d/b/a Go Phonez - 6630 Sprague Street,


Apt. А2, Philadelphia, Pennsylvania 191 19 - knowledge regarding Defendants' conduct and


dealings in MetroPCS products and services and other information relevant to this litigation,


including the extent of damage to MetroPCS as    а    result of Defendants' actions.


       4.      Christopher A1exander Т. Johnson - 323 West Zeralda Street, Philadelphia,


Pennsylvania 19144 - knowledge regarding Defendants' conduct and dealings in MetroPCS


products and services and other information relevant to this litigation, including the extent of


damage to MetroPCS as   а   result of Defendants' actions.


       5.     Brion R. Benson - 1 126 Magnolia Avenue, Apt. А, Camden, New Jersey 08 103


and 1 123 Magnolia Avenue, Camden, New Jersey 08 103 - knowledge regarding Defendants'


conduct and dealings in MetroPCS products and services and other information relevant to this


litigation, including the extent of damage to MetroPCS as     а   result of Defendants' actions.


       6.      Rolan Stephens - 1228 West Venango Street, Philadelphia, Pennsylvania 19 140


and 909 69th Avenue, Apt. 2, Philadelphia, Pennsylvania 19 126 - knowledge regarding


Defendants' conduct and dealings in MetroPCS products and services and other information


relevant to this litigation, including the extent of damage to MetroPCS as      а   result of Defendants'


actions.


       7.      Keosha Lawson - 6630 Sprague Sчееt, Apt. А2, Philadelphia, Pennsylvania
                                                        I
19 1 19 and 364 1 N. Marshall Street #903, Philadelphia, Pennsylvania 19 140 - knowledge


regarding Defendants' conduct and dealings in MetroPCS products and services and other


information relevant to this litigation, including the extent of damage to MetroPCS as         а   result of


Defendants' actions.




                                                  7




                                                                                                        APPENDIX Page 19
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        8.      Nina Stewart      - 612 N. Donar Street, Columbia, South Carolina 26229 -

knowledge regarding Defendants' conduct and dealings in MetroPCS products and services and


other information relevant to this litigation, including the extent of damage to MetroPCS as а


result of Defendants' actions.


        9.      Zamir Jefferson - 3908 Меlоп Street, Philadelphia, Pennsylvania 191 04 -


 knowledge regarding Defendants' conduct and dealings in MetroPCS products and services and


 other information relevant to this litigation, including the extent of damage to MetroPCS as а


 result of Defendants' actions.


        10.     Мichael Johnson - 323 West Zeralda Street, Philadelphia, Pennsylvania 191 44 -


 knowledge regarding Defendants' conduct and dealings in MetroPCS products and services and


 other information relevant to this litigation, including the extent of damage to MetroPCS as а


 result of Defendants' actions.


        1 1.    Angelica Тhomas - address unknоwn - knowledge regarding Defendants'


 conduct and dealings in MetroPCS products and services and other information relevant to this


 litigation, including the extent of damage to MetroPCS   as   а result of Defendants' actions.


        12.     Troy Thomas -       612 N. Donar Street, СоlumЫа, South Carolina 26229 -

 knowledge regarding Defendants' conduct and dealings in MetroPCS products and services and


 other information relevant to this litigation, including the extent of dama� to MetroPCS as а


 resu1t of Defendants' actions.


         13.    Gianni Thomas - address unknоwn - knowledge regarding Defendants' conduct


 and dealings in MetroPCS products and services and other information relevant to this litigation,


 including the extent of damage to MetroPCS as а resи1t of Defendants' actions.




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       14.     Stephanie Тhomas - address unknown - knowledge regarding Defendants'


conduct and dealings in MetroPCS products and services and other information relevant to this


litigation, including the extent of damage to MetroPCS as а result of Defendants' actions.


       15.     Facebook Corporate Representative      -   с/о Registered Agent - is believed to Ьауе


knowledge regarding Defendants' advertising,          purchases,   sales,   dealings,   shipments and


deliveries of MetroPCS products and other information relevant to this litigation.


       16.     На} Leshner, Stumar Investigations - has information regarding the investigation


of Defendants' fraudulent activities, the unlawful acquisition and resale of MetroPCS handsets,


and other information relevant to this matter. Тhe investigator should only Ье contacted through


MetroPCS's counsel.


       17.     Stuart   Drobny,     Stumar    Investigations   -   has   information    regarding   the


investigation of Defendants' fraudulent activities, the unlawful acquisition and resale of


MetroPCS handsets, and other information relevant to this matter. Тhe investigator should only


Ье contacted through MetroPCS's counsel.


       18.     Steve    Galambos,    Stumar    Investigations -    has   information    regarding   the


investigation of Defendants' fraudulent activities, the unlawful acquisition and resale of


MetroPCS handsets, and other information relevant to this matter. Тhe investigator should only


Ье contacted through MetroPCS's counsel.


       19.     Julio Bemal, Stumar Investigations - has information regarding the investigation


of Defendants' fraudulent activities, the unlawful acquisition and resale of MetroPCS handsets,


and other information relevant to this matter. Тhe investigator should only Ье contacted through          ,


MetroPCS's counsel.




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                                                                                                    APPENDIX Page 21
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       20.     Margaret Walker, Stumar       Investigations - has       information   regarding   the


investigation of Defendants' fraudиlent activities, the unlawful acquisition and resale of


MetroPCS handsets, and other information re1evant to this matter. Тhe investigator shou1d only


Ье contacted through MetroPCS's counse1.


       21.     Rick   Szlachta,   Stumar   Investigations   -   has   information     regarding   the


investigation of Defendants' fraudu1ent activities, the unlawful acquisition and resa1e of


MetroPCS handsets, and other information re1evant to this matter. ТЬе investigator shoиld only


Ье contacted through MetroPCS's counse1.


       22.     АН companies and individuals identified as doing business in MetroPCS products

or services with Defendants, as ref1ected in purchase orders, invoices, email, and other similar


documents produced Ьу Defendants. These people and entities are believed to Ьауе knowledge


of Defendants' conduct as described in the Complaint, including the illicit acquisition, resale and


shipment of new MetroPCS handsets.         Тhese individuals and companies Ьауе not yet Ьееп


identified Ьу пате to MetroPCS, but are known to Defendants.


       23.     Present   and   former   employees,    subcontractors,    representatives,   partners,


suppliers, runners, and others who worked formaHy or informally for Defendants in connection


with the acquisition, resale, advertising, tampering, and/or shipping of MetroPCS products and


services and, therefore, Ьауе knowledge of Defendants' conduct as described in the Complaint.


These individuals Ьауе not yet Ьееп identified Ьу пате to MetroPCS, but are known to


Defendants.


       24.     Present and former customers and vendors of the Defendants who Ьауе


knowledge of Defendants' conduct as described in the Complaint, including the acquisition,
                                                                                                                     f




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                                                                                                  APPENDIX Page 22
Case 3:18-mc-00029-K-BN Document 2 Filed 04/18/18                    Page 23 of 35 PageID 34




resale, tampering, and smpment of new MetroPCS handsets.      Тhese individuals and companies


Ьауе not yet Ьееп identified Ьу пате to MetroPCS, but are knоwn to Defendants.


       25.    Тhe individual or individuals, not yet identified Ьу Defendants, who aided,


assisted, and/or instructed Defendants оп methods to defraud MetroPCS.


       MetroPCS reserves the right to supplement tms list as discovery progresses




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                                                                                          APPENDIX Page 23
Case 3:18-mc-00029-K-BN Document 2 Filed 04/18/18                       Page 24 of 35 PageID 35




                                       ATTACНМENT В


       MetroPCS complies with its obligation under Rule 26(a)( 1)(A)(ii) Ьу providing the following


"description Ьу category and location of all documents, electronically stored information, and


tangible things" that MetroPCS has in its possession, custody and control and mау use to support its


claims against Defendants, exclusive of materials MetroPCS mау ше solely for impeachment. As


discovery in this case is in the initial stages, additional documents mау Ье discovered as the case


progresses. If any such documents are discovered, MetroPCS will promptly identify them.


   (i) Description Ьу category:


       1.      Documents reflecting Defendants' participation in the Scheme described in the


               Complaint.


       2.      The Terms and Conditions governing the use of MetroPCS handsets and services.


               See Exhibit А to MetroPCS's Complaint. [DE 1- 1].

       3.      Documents reflecting MetroPCS's damages.


       4.      Documents reflecting MetroPCS's trademark rights.



    (ii) Location of materials:               Carlton Fields Jorden Воо,   Р.А.
                                              CityPlace Tower
                                              5 25 Okeechobee Blvd., Suite 1200
                                              West Palm Beach, Florida 3340 1


                                              and/or


                                              T-МоЫlе USA, Inc.
                                              12920 SE 38th Street
                                              ВеllеУие, Washington 98006


                                              and/or


                                              MetroPCS
                                              2250 Lakeside Boulevard
                                              Richardson, Texas 75082




                                                 12




                                                                                                APPENDIX Page 24
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       MetroPCS also believes that Defendants and third-parties Ьауе documents and/or tangible


things that support MetroPCS's claims, including but not limited to email communications,


advertisements, handsets, handset packaging and materials, Ьank statements and other financial


records, and purchase, sale and shipping records. These documents and/or tangible things ате not in


MetroPCS's possession, custody от control at this tiше.


       MetroPCS will supplement this list as needed. MetroPCS expressly reserves the right to


identify and use documents from additional categories and sources if, in the course of discovery


and investigation relating to this case, MetroPCS learns that such additional categories от sources


contain relevant documents.




                                                 13




                                                                                               APPENDIX Page 25
            Case 3:18-mc-00029-K-BN United
                                     Document  2 Filed
                                           States      04/18/18
                                                  District Court Page 26 of 35 PageID 37
                          Eastern District of Pennsylvania (Philadelphia)
                        CIVIL DOCKET FOR CASE #: 2:17-cv-04557-MMB


METROPCS v. THOMAS et al                                   Date Filed: 10/12/2017
Assigned to: HONORABLE MICHAEL M. BAYLSON                  Jury Demand: Plaintiff
Cause: 15:1051 Trademark Infringement                      Nature of Suit: 840 Property Rights:
                                                           Trademark
                                                           Jurisdiction: Federal Question
Plaintiff
METROPCS                                       represented by ADAM PAUL SCHWARTZ
A BRAND OF T-MOBILE USA, INC., A                              CARLTON FIELDS
DELAWARE CORPORATION                                          4221 W BOY SCOUT BLVD STE 1000
                                                              TAMPA, FL 33607
                                                              813-229-4336
                                                              Email: aschwartz@CFJBLaw.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                            ALANA ZORRILLA-GASTON
                                                            CARLTON FIELDS JORDEN BURT, PA
                                                            525 OKEECHOBEE BLVD
                                                            SUITE 1200
                                                            WEST PALM BEACH, FL 33401
                                                            561-659-7070
                                                            Email: agaston@carltonfields.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            AMANDA R. JESTEADT
                                                            CARLTON FIELDS JORDEN BURT PA
                                                            525 OKEECHOBEE BLVD SUITE 1200
                                                            WEST PALM BEACH, FL 33401
                                                            561-659-7070
                                                            Email: ajesteadt@carltonfields.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            JAMES B. BALDINGER
                                                            CARLTON FIELDS JORDEN BURT PA
                                                            CITY PLACE TOWER
                                                            525 OKEECHOBEE BLVD STE 1200
                                                            WEST PALM BEACH, FL 33401
                                                            561-659-7070
                                                            Email: jbaldinger@carltonfields.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            JENNIFER A. YASKO
                                                            CARLTON FIELDS JORDEN BURT PA
                                                            CITY PLACE TOWER SUITE 1200
                                                            525 OKEECHOBEE BLVD
                                                            WEST PALM BEACH, FL 33401-6350
                                                                                       APPENDIX Page 26
                                                           561-659-7070
            Case 3:18-mc-00029-K-BN Document 2 Filed 04/18/18
                                                           Email:Page  27 of 35 PageID 38
                                                                  jyasko@carltonfields.com
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                   STACEY K. SUTTON
                                                                   CARLTON FIELDS JORDEN BURT, P.A.
                                                                   CITYPLACE TOWER
                                                                   525 OKEECHOBEE BLVD
                                                                   SUITE 1200
                                                                   WEST PALM BEACH, FL 33401
                                                                   561-659-7070
                                                                   Email: ssutton@carltonfields.com
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED


V.
Defendant
ISAIAH MICHAEL THOMAS
INDIVIDUALLY AND
doing business as
GO PHONEZ
Defendant
ZAMIR JEFFERSON
Defendant
CHRISTOPHER ALEXANDER T.
JOHNSON
Defendant
BRION R. BENSON
Defendant
ROLAN STEPHENS
Defendant
KEOSHA LAWSON
Defendant
NINA STEWART                                        represented by NINA STEWART
                                                                   612 N. DONAR DRIVE
                                                                   COLUMBIA, SC 29220
                                                                   PRO SE


Date Filed       #    Docket Text
04/17/2018       34   *AMENDED* NOTICE (new time) of Hearing: PRELIMINARY PRETRIAL
                      CONFERENCE AND ALL OPEN MOTIONS SET FOR 4/19/2018 12:00 PM IN
                      COURTROOM 3A BEFORE HONORABLE MICHAEL M. BAYLSON.(lds, ) (Entered:
                      04/17/2018)
04/13/2018       33   MOTION for Default Judgment against Defendant Isaiah Michael Thomas, individually and
                      d/b/a Go Phonez, Zamir Jefferson, Brion R. Benson, Rolan Stephens, and Keosha Lawson,
                                                                                             APPENDIX Page 27
                  MOTION for Permanent Injunction filed by METROPCS.Memorandum, Declaration.
         Case 3:18-mc-00029-K-BN Document 2 Filed 04/18/18 Page 28 of 35 PageID 39
                  (Attachments: # 1 Memorandum, # 2 Exhibit A - Declaration of Stacey K. Sutton, # 3 Exhibit
                  B - Declaration of Stuart Drobny, # 4 Exhibit C - Declaration of John Neil, # 5 Text of
                  Proposed Order)(YASKO, JENNIFER) (Entered: 04/13/2018)
03/23/2018         Default Entered (jl, ) (Entered: 03/26/2018)
03/23/2018         DEFAULT BY ZAMIR JEFFERSON FOR FAILURE TO APPEAR, PLEAD OR
                   OTHERWISE DEFEND. (jl, ) (Entered: 03/26/2018)
03/23/2018    32   Request for Default METROPCS against ZAMIR JEFFERSON. (Attachments: # 1 Exhibit A,
                   # 2 Text of Proposed Order)(YASKO, JENNIFER) (Entered: 03/23/2018)
03/16/2018    31   NOTICE of Hearing: PRETRIAL CONFERENCE SET FOR 4/19/2018 02:00 PM IN
                   COURTROOM 3A BEFORE HONORABLE MICHAEL M. BAYLSON. Attached is a
                   Conference Information Report which you are required to complete and forward to the Court
                   at least two days prior to the day of the conference. Do not have this Report docketed. Also
                   attached is the Courts Pretrial and Trial Procedures. (Attachments: # 1 Supplement, # 2
                   Supplement)(lds, ) (Entered: 03/16/2018)
03/05/2018         Copy of Order dated 2/21/18 and envelope returned from the U.S. Postal Service addressed to
                   NINA STEWART for the following reason: UNABLE TO FORWARD. (jl, ) (Entered:
                   03/05/2018)
02/27/2018    30   SUMMONS Returned Executed by METROPCS re: Steve Galambos served Summons and
                   Complaint upon ZAMIR JEFFERSON by Service at Residence. ZAMIR JEFFERSON served
                   on 2/22/2018, answer due 3/15/2018. (YASKO, JENNIFER) (Entered: 02/27/2018)
02/21/2018    29   ORDER THAT DEFENDANT'S MOTION NINA STEWART MOTION TO DISMISS IS
                   DENIED; ETC.. SIGNED BY HONORABLE MICHAEL M. BAYLSON ON 2/21/18.
                   2/21/18 ENTERED AND COPIES MAILED, E-MAILED AND MAILED TO PRO SE.(jl, )
                   (Entered: 02/21/2018)
02/21/2018    28   MEMORANDUM AND ORDER THAT DEFENDANT'S NINA STEWART MOTION TO
                   DISMISS IS DENIED; ETC.. SIGNED BY HONORABLE MICHAEL M. BAYLSON ON
                   2/21/18. 2/21/18 ENTERED AND COPIES MAILED TO PRO SE, E-MAILED, MAILED.
                   (jl, ) (Entered: 02/21/2018)
02/05/2018    27   ORDER THAT THE APPLICATION OF AMANDA JESTEADT TO APPEAR PRO HAC
                   VICE IS GRANTED; ETC.. SIGNED BY HONORABLE MICHAEL M. BAYLSON ON
                   2/5/18. 2/5/18 ENTERED AND COPIES MAILED, E-MAILED.(jl, ) (Entered: 02/05/2018)
02/05/2018    26   ORDER THAT THE APPLICATION OF JENNIFER YASKO TO APPEAR PRO HAC
                   VICE IS GRANTED; ETC.. SIGNED BY HONORABLE MICHAEL M. BAYLSON ON
                   2/5/18. 2/5/18 ENTERED AND COPIES MAILED, E-MAILED.(jl, ) (Entered: 02/05/2018)
02/05/2018    25   APPLICATION for Admission Pro Hac Vice of Jennifer A. Yasko by METROPCS. ( Filing
                   fee $ 40 receipt number 0313-12609677.). (Attachments: # 1 Text of Proposed Order Proposed
                   Order)(SCHWARTZ, ADAM) (Entered: 02/05/2018)
02/05/2018    24   APPLICATION for Admission Pro Hac Vice of Amanda R. Jesteadt by METROPCS. ( Filing
                   fee $ 40 receipt number 0313-12609629.). (Attachments: # 1 Text of Proposed Order Proposed
                   Order)(SCHWARTZ, ADAM) (Entered: 02/05/2018)
01/22/2018         Copy of Order dated 1/11/18 and envelope returned from the U.S. Postal Service addressed to
                   NINA STEWART for the following reason: UNABLE TO FORWARD. (jl, ) (Entered:
                   01/22/2018)
01/11/2018    23   ORDER THAT PLAINTIFF'S MOTION FOR AN EXTENSION OF TIME TO SERVE
                   DEFENDANT ZAMIR JEFFERSON IS GRANTED; ETC.. SIGNED BY HONORABLE
                   MICHAEL M. BAYLSON ON 1/11/18.1/11/18 ENTERED AND E-MAILED, MAILED TO
                                                                                               APPENDIX Page 28
                  PRO SE.(jl, ) (Entered: 01/11/2018)
         Case 3:18-mc-00029-K-BN Document 2 Filed 04/18/18 Page 29 of 35 PageID 40
01/10/2018   22 MOTION for Service Extension of Time to Serve Defendant Zamir Jefferson filed by
                  METROPCS.Memorandum.(SUTTON, STACEY) (Entered: 01/10/2018)
12/20/2017         Default Entered (jl, ) (Entered: 12/20/2017)
12/20/2017         DEFAULT BY BRION R. BENSON, KEOSHA LAWSON, ROLAN STEPHENS, ISAIAH
                   MICHAEL THOMAS FOR FAILURE TO APPEAR, PLEAD OR OTHERWISE DEFEND.
                   (jl, ) (Entered: 12/20/2017)
12/20/2017    21   Request for Default METROPCS against BRION R. BENSON, KEOSHA LAWSON,
                   ROLAN STEPHENS, ISAIAH MICHAEL THOMAS. (Attachments: # 1 Exhibit A, # 2 Text
                   of Proposed Order)(SUTTON, STACEY) (Entered: 12/20/2017)
12/07/2017    20   SUMMONS Returned Executed by METROPCS re: Steve Galambos served Summons and
                   Complaint upon CHRISTOPHER ALEXANDER T. JOHNSON by Personal Service.
                   CHRISTOPHER ALEXANDER T. JOHNSON served on 11/2/2017, answer due 11/24/2017.
                   (YASKO, JENNIFER) (Entered: 12/07/2017)
12/07/2017    19   SUMMONS Returned Executed by METROPCS re: Jason Sabo served Summons and
                   Complaint upon KEOSHA LAWSON by Personal Service. KEOSHA LAWSON served on
                   11/14/2017, answer due 12/5/2017. (YASKO, JENNIFER) (Entered: 12/07/2017)
11/30/2017    18   RESPONSE in Opposition re 15 MOTION to Dismiss for Lack of Personal Jurisdiction and
                   Improper Venue or to Transfer Venue filed by METROPCS. (Attachments: # 1 Affidavit, # 2
                   Text of Proposed Order)(SUTTON, STACEY) (Entered: 11/30/2017)
11/21/2017    17   ORDER THAT PLAINTIFF'S MOTION FOR A SEVEN DAY ENLARGEMENT OF TIME
                   TO RESPOND TO THE MOTION TO DISMISS IS GRANTED. PLAINTIFF SHALL FILE
                   ITS RESPONSE TO THE MOTION TO DISMISS BY 11/30/17; ETC.. SIGNED BY
                   HONORABLE MICHAEL M. BAYLSON ON 11/21/17. 11/21/17 ENTERED AND COPIES
                   MAILED, E-MAILED AND MAILED TO PRO SE.(jl, ) (Entered: 11/21/2017)
11/21/2017    16   MOTION for Extension of Time to File Response/Reply as to 15 MOTION to Dismiss for
                   Lack of Personal Jurisdiction and Improper Venue or to Transfer Venue filed by
                   METROPCS.. (Attachments: # 1 Text of Proposed Order)(SUTTON, STACEY) (Entered:
                   11/21/2017)
11/16/2017    15   NINA STEWART MOTION TO DISMISS THIS CASE FOR LACK OF PERSONAL
                   JURISDICTION, CERTIFICATE OF SERVICE..(jl, ) (Entered: 11/16/2017)
11/16/2017    14   Disclosure Statement Form pursuant to FRCP 7.1 by NINA STEWART.(jl, ) (Entered:
                   11/16/2017)
11/10/2017    13   SUMMONS Returned Executed by METROPCS re: Steve Galambos served Summons and
                   Complaint upon BRION R. BENSON by Personal Service. BRION R. BENSON served on
                   11/2/2017, answer due 11/24/2017. (YASKO, JENNIFER) (Entered: 11/10/2017)
11/10/2017    12   SUMMONS Returned Executed by METROPCS re: Jason Rushton served Summons and
                   Complaint upon ISAIAH MICHAEL THOMAS by Personal Service. ISAIAH MICHAEL
                   THOMAS served on 10/31/2017, answer due 11/21/2017. (YASKO, JENNIFER) (Entered:
                   11/10/2017)
11/10/2017    11   SUMMONS Returned Executed by METROPCS re: Mike Alveshire served Summons and
                   Complaint upon NINA STEWART by Personal Service. NINA STEWART served on
                   10/31/2017, answer due 11/21/2017. (YASKO, JENNIFER) (Entered: 11/10/2017)
11/10/2017    10   SUMMONS Returned Executed by METROPCS re: Steve Galambos served Summons and
                   Complaint upon ROLAN STEPHENS by Personal Service. ROLAN STEPHENS served on
                   11/1/2017, answer due 11/22/2017. (YASKO, JENNIFER) (Entered: 11/10/2017)
                                                                                           APPENDIX Page 29
10/25/2017     9 ORDER THAT THE APPLICATION OF STACEY SUTTON TO APPEAR PRO HAC VICE
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                  IS GRANTED; ETC.. SIGNED BY HONORABLE MICHAEL M. BAYLSON ON 10/25/17.
                  10/26/17 ENTERED AND COPIES MAILED, E-MAILED.(jl, ) (Entered: 10/26/2017)
10/25/2017   8   ORDER THAT THE APPLICATION OF JAMES B. BALDINGER TO APPEAR PRO HAC
                 VICE IS GRANTED; ETC.. SIGNED BY HONORABLE MICHAEL M. BAYLSON ON
                 10/25/17. 10/26/17 ENTERED AND COPIES MAILED, E-MAILED.(jl, ) (Entered:
                 10/26/2017)
10/25/2017   7   ORDER THAT THE APPLICATION OF ALANA ZORILLA-GASTON TO APPEAR PRO
                 HAC VICE IS GRANTED; ETC.. SIGNED BY HONORABLE MICHAEL M. BAYLSON
                 ON 10/25/17. 10/26/17 ENTERED AND COPIES MAILED, E-MAILED.(jl, ) (Entered:
                 10/26/2017)
10/25/2017   6   APPLICATION for Admission Pro Hac Vice of Alana Zorrilla-Gaston by METROPCS.
                 ( Filing fee $ 40 receipt number 0313-12413752.). (Attachments: # 1 Text of Proposed Order
                 Proposed Order)(SCHWARTZ, ADAM) (Entered: 10/25/2017)
10/25/2017   5   APPLICATION for Admission Pro Hac Vice of Stacey K. Sutton by METROPCS. ( Filing fee
                 $ 40 receipt number 0313-12413739.). (Attachments: # 1 Text of Proposed Order Proposed
                 Order)(SCHWARTZ, ADAM) (Entered: 10/25/2017)
10/25/2017   4   APPLICATION for Admission Pro Hac Vice of James B. Baldinger by METROPCS. ( Filing
                 fee $ 40 receipt number 0313-12413685.). (Attachments: # 1 Text of Proposed Order Proposed
                 Order)(SCHWARTZ, ADAM) (Entered: 10/25/2017)
10/12/2017       DEMAND for Trial by Jury by METROPCS. (jwl, ) (Entered: 10/12/2017)
10/12/2017       Summons Issued as to BRION R. BENSON, ZAMIR JEFFERSON, CHRISTOPHER
                 ALEXANDER T. JOHNSON, KEOSHA LAWSON, ROLAN STEPHENS, NINA
                 STEWART, ISAIAH MICHAEL THOMAS. Seven Forwarded To: Counsel on 10/12/17
                 (jwl, ) (Entered: 10/12/2017)
10/12/2017   3   REPORT on the filing or determination of an action regarding trademark numbers 2784778,
                 2792316, 2803097, 2865446, 3542846, 4480888, 4480891, 4484674. (jwl, ) (Entered:
                 10/12/2017)
10/12/2017   2   Disclosure Statement Form pursuant to FRCP 7.1 Identifying Corporate Parent T-MOBILE
                 GLOBAL HOLDING GMBH, Corporate Parent T-MOBILE GLOBAL
                 ZWISCHENHOLDING GMBH, Corporate Parent T-MOBILE US, INC., Corporate Parent
                 DEUTSCHE TELEKOM HOLDING B.V., Corporate Parent DEUTSCHE TELEKOM AG
                 for METROPCS. by METROPCS.(jwl, ) (Entered: 10/12/2017)
10/12/2017   1   COMPLAINT against BRION R. BENSON, ZAMIR JEFFERSON, CHRISTOPHER
                 ALEXANDER T. JOHNSON, KEOSHA LAWSON, ROLAN STEPHENS, NINA
                 STEWART, ISAIAH MICHAEL THOMAS ( Filing fee $ 400 receipt number 167238.), filed
                 by METROPCS. (Attachments: # 1 Case Management Track Form, # 2 Civil Cover Sheet, # 3
                 Designation Form, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, #
                 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16 Exhibit, #
                 17 Exhibit, # 18 Exhibit, # 19 Exhibit, # 20 Exhibit, # 21 Exhibit, # 22 Exhibit, # 23 Exhibit, #
                 24 Exhibit)(jwl, ) (Entered: 10/12/2017)




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                                                                  PageID     43District Court
                                                                        States
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                August 09, 2017
                                IN THE UNITED STATES DISTRICT COURT
                                                                               David J. Bradley, Clerk
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

METROPCS,                                              §
        Plaintiff,                                     §
                                                       §
v.                                                     §   CIVIL ACTION NO. H-16-3573
                                                       §
FIESTA CELL PHONE & DISH                               §
NETWORK, INC, et al.,                                  §
         Defendants.                                   §

                                              MEMORANDUM AND ORDER

           This case is before the Court on the Motion for Summary Judgment Against

Defendant Zawar H. Shah (“Motion”) [Doc. # 75] filed by Plaintiff MetroPCS, to

which Defendant Shah filed a Response [Doc. # 87], and Plaintiff filed a Reply [Doc.

# 89]. Having reviewed the record and applied relevant legal authorities, the Court

denies the Motion.

           Plaintiff alleges that Defendants engaged in the unauthorized bulk purchase and

resale of MetroPCS wireless handsets. Defendant Fiesta Cell Phone & Dish Network,

Inc. (“Fiesta Cell”) failed to appear and, by Final Judgment [Doc. # 41] entered March

6, 2017, final default judgment was entered against it. Based on the final default

judgment against Fiesta Cell, Plaintiff has now moved for summary judgment against

Shah. The Motion has been fully briefed and is ripe for decision.



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           Summary judgment is proper only if the pleadings, depositions, answers to

interrogatories, and admissions in the record, together with any affidavits filed in

support of the motion, demonstrate that there is no genuine issue as to any material

fact, and that the moving party is entitled to judgment as a matter of law. See FED. R.

CIV. P. 56(a); Bacharach v. Suntrust Mortg., Inc., 827 F.3d 432, 434 (5th Cir. 2016).

Where the movant bears the burden of proof at trial on the issues at hand, as is the

case here, it “bears the initial responsibility of demonstrating the absence of a genuine

issue of material fact with respect to those issues.” Transamerica Ins. Co. v. Avenell,

66 F.3d 715, 718 (5th Cir. 1995); see also Brandon v. Sage Corp., 808 F.3d 266, 269-

70 (5th Cir. 2015); Lincoln Gen. Ins. Co. v. Reyna, 401 F.3d 347, 349 (5th Cir. 2005).

If the moving party fails to meet its initial burden, the motion for summary judgment

must be denied, regardless of the non-movant’s response. ExxonMobil Corp., 289

F.3d at 375.

           Under Texas law, “[i]f the corporate privileges of a corporation are forfeited for

the failure to file a report or pay a tax or penalty, each director or officer of the

corporation is liable for each debt of the corporation that is created or incurred in this

state after the date on which the report, tax, or penalty is due and before the corporate

privileges are revived.” TEX. TAX CODE § 171.255(a). To impose liability on Shah

based on the judgment against Fiesta Cell, MetroPCS must prove that (1) the


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                                                                                     APPENDIX Page 33
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corporate charter was forfeited for noncompliance with the Texas Tax Code; (2) a

judgment exists against Fiesta Cell; and (3) Shah was an officer or director of Fiesta

Cell at the time the corporate debt was incurred. See Am. Star Energy & Minerals

Corp. v. Stowers, 457 S.W.3d 427, 431 (Tex. 2015). In this case, it is undisputed that

Fiesta Cell’s corporate charter was forfeited in October 2004 for failure to comply

with the Texas Tax Code. It is also undisputed that a default judgment exists against

Fiesta Cell.1 There is no evidence, however, that Shah was an officer or director of

Fiesta Cell in March 2017 when default judgment was entered and the debt was

created. Plaintiff’s evidence demonstrates only that Shah was an officer (President)

of Fiesta Cell in April 2011 when the company filed a Texas Franchise Tax Public

Information Report. Plaintiff has not demonstrated that no genuine issue of material

fact exists regarding whether Shah was an officer or director of Fiesta Cell in March

2017. As a result, Plaintiff has not demonstrated that it is entitled to summary

judgment against Shah pursuant to § 171.255(a) of the Texas Tax Code, and it is

hereby

           ORDERED that Plaintiff’s Motion for Summary Judgment Against Defendant

Zawar H. Shah [Doc. # 75] is DENIED.



1
           It is undisputed that the judgment exists, but Shah challenges the validity of the
           default judgment.
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                                                                                     APPENDIX Page 34
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                                           9th day of August, 2017.
           SIGNED at Houston, Texas, this _____




                                                       NAN Y F. ATLAS
                                              SENIOR UNI   STATES DISTRICT JUDGE




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